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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


JOHNNY REYNOLDS, et al.,           )
                                   )
     Plaintiffs,                   )
                                   )         CIVIL ACTION NO.
     v.                            )           2:85cv665-MHT
                                   )                (WO)
ALABAMA DEPARTMENT OF              )
TRANSPORTATION, et al.,            )
                                   )
     Defendants.                   )


                              JUDGMENT

    In accordance with the stipulations of dismissal

(doc. no. 9350), it is the ORDER, JUDGMENT, and DECREE

of the court that the individual-contempt claims (doc.

nos. 6492 and 7040) of the following claimants:

  • Franklin Baxter,

  • Donald Blue,

  • Toreatha Bostic,

  • Vernice Boswell, Jr.,

  • Rhenae Brown,

  • Kasandra Brundidge,
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• Theodore Brundidge,

• Rayford Carmichael,

• Blocker Carter, Jr.,

• Kirk Casey,

• Ruby Christian,

• Henry Christian,

• Charlie Clark,

• Dorothy Coleman,

• Mary E. Crockett,

• David Curtis,

• William Custard,

• Oris Edwards,

• Roddy Dan Edwards,

• Charlie Engram,

• Sheila Ellison Ford,

• James Foster,

• Henry T. Foxx,

• Debra Frazier,

• Angelia Fuller,

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• Tommie Lee Gilchrist,

• Patrick Grant,

• Charlie Green,

• Joe Cecil Green,

• Connie Hall,

• Letitia Hendricks,

• Joe Hewitt,

• Renya Hooks,

• Eric Horn,

• Ellis Hoskins,

• Dollena Hunt,

• Andre Jenkins,

• Carl W. Johnson,

• Luke P. Kelley,

• Johnny Kendrick,

• David Knox,

• Canderia Kyser,

• Barry Landrum,

• Mark D. Leonard,

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• Lonnie Long,

• Randy Malone,

• Stephanie Matthews,

• Cedric Mcqueen,

• Lonnie Mitchell,

• Bernard K. Moore,

• Andrette Munnerlyn,

• Joseph Oniah,

• Robert M. Peyton,

• Katara Phillips,

• Anita Prince,

• Frank Reed,

• Henry L. Reynolds,

• Samuel C. Richardson,

• Aaron Robinson,

• Willie Lee Smith,

• Terry Soles,

• Carlos Thomas,

• David J. Thomas,

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  • Christopher Tucker,

  • Jeffrey Whatley,

  • Mary B. Williams,

  • Thomas A. Williams,

  • Tony Ray Williams,

  • Walter Winn, and

  • Clarence D. Woods

are dismissed with prejudice, with the parties to bear

their own costs.

    The clerk of the court is DIRECTED to enter this

document    on   the    civil     docket   as    a   final    judgment

pursuant   to    Rule   58   of    the   Federal     Rules   of   Civil

Procedure.

    DONE, this the 8th day of October, 2019.

                                     /s/ Myron H. Thompson
                                  UNITED STATES DISTRICT JUDGE
